          Case 1:21-cr-00291-ABJ Document 64 Filed 08/30/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-CR-291 (ABJ)
               v.                            :
                                             :
THOMAS SIBICK,                               :
                                             :
ALBUQUERQUE HEAD,                            :
                                             :
KYLE YOUNG,                                  :
                                             :
                      Defendants.            :


                                  NOTICE OF DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of July 30, 2021, has been provided to the defense in this matter.


                                             Respectfully submitted,
                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                      By:                    /s/
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